          Case 18-34658 Document 698 Filed in TXSB on 03/09/21 Page 1 of 1




                             UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION                                                    ENTERED
                                                                                                         03/09/2021
IN RE:                                                §
HOUTEX BUILDERS, LLC, et al                           §       CASE NO: 18-34658
                                                      §
415 SHADYWOOD, LLC                                    §       CASE NO: 18-34659
                                                      §
2203 LOOSCAN LANE, LLC                                §       CASE NO: 18-34660
                                                      §       Jointly Administered Order
           Debtor(s)                                  §
                                                      §       CHAPTER 11

                                      ORDER SETTING HEARING

          Hearing is set on the Joint Emergency Motion for Authority to Compromise Disputes Among the

Debtors, Charles Foster and Spirit of Texas Bank (ECF No. 696) at 09:30 a.m. on March 16, 2021, in

Courtroom 403, United States Courthouse, 515 Rusk St., Houston, Texas. The response deadline is 5:00

p.m. on March 15, 2021. Requested relief that is unopposed by written response prior to the response

deadline may be ruled on without the necessity of a hearing. The Court may grant or deny any relief

sought in any motion/application or objection without hearing based on responsive pleadings. The

movant shall serve a copy of this order on all affected parties within 24 hours and file a certificate of

service; or file and serve a hearing notice within 24 hours, which must include the response deadline.

          Parties should reference the court’s website1 for remote connection instructions. In person court

appearances are suspended pending further order of the court.2

          SO ORDERED.

          SIGNED: 03/09/2021.


                                                      ___________________________________
                                                      Jeffrey P. Norman
                                                      United States Bankruptcy Judge


1
    https://www.txs.uscourts.gov/page/united-states-bankruptcy-judge-jeffrey-p-norman
2
    https://www.txs.uscourts.gov/bankruptcy/genord General Order 2020-20.
1/1
